                     Case 1:24-cv-01525-RP                  Document 9
                                                                     3         Filed 01/06/25
                                                                                     12/13/24      Page 1
                                                                                                        5 of 2
                                                                                                             6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        WesternDistrict
                                                    __________  Districtofof__________
                                                                             Texas

                                                                     )
  Stephen Crocker, Individually and on Behalf of all                 )
            Others Similarly Situated,                               )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-01525-RP
                                                                     )
                                                                     )
                Cassava Sciences, Inc.,                              )
        Richard Jon Barry, and James W. Kupiec,                      )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) James W. Kupiec
                                           c/o Cassava Sciences, Inc.
                                           7801 N Capital of Texas Highway, Suite 260
                                           Austin, TX 78731




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           Thane Tyler Sponsel III
                                           Sponsel Miller Greenberg PLLC
                                           50 Briar Hollow Ln., Suite 370 West, Houston, Texas 77027



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT 3+,/,3-'(9/,1


Date:       12/13/2024
                                                                                         Signature of Clerk or Deputy Clerk
Case 1:24-cv-01525-RP   Document 9   Filed 01/06/25   Page 2 of 2
